                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


CRAIG CUNNINGHAM,                                  )
                                                   )
        Plaintiff,                                 )
                                                   )
v.                                                 ) No.: 3:14-cv-02409
                                                   ) Judge Campbell
NAVIENT and SLM CORP.,                             ) Magistrate Judge Griffin
                                                   )
        Defendants.                                )

                              JOINT NOTICE OF SETTLEMENT

        NOTICE IS HEREBY GIVEN that Plaintiff Craig Cunningham and Defendants Navient

Solutions, Inc. and SLM Corporation (hereinafter “Parties”) have reached a settlement. The

Parties hereby respectfully request that this Court allow thirty (30) days within which to

complete the settlement and to file a Stipulation of Dismissal with Prejudice in this matter. This

court shall retain jurisdiction over this matter until fully resolved.

/s/ Craig Cunningham                                 /s/ Claire V. Thomas
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                                                     Navient Solutions, Inc. and SLM Corporation




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                                CERTIFICATE OF SERVICE

       I certify that on this 1st day of December, 2015, a copy of the foregoing was filed via the
Court’s Electronic Filing system. Notice of this filing will be sent to the parties of record by
operation of the Court’s electronic filing system. All other parties will be served by regular
U.S. mail. Parties may access this filing through the Court’s system.

       Craig Cunningham
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                                             /s/ Claire V. Thomas
                                               Claire V. Thomas




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